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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            Miami Division

 JANE DOE,                                                      Case No: 1:25-cv-20757-JB/Torres

         Plaintiff,

 vs.

 STEVEN K. BONNELL II,

         Defendant.

 __________________________________/

       PLAINTIFF JANE DOE’S MOTION FOR PROTECTIVE ORDER GOVERNING
                 PUBLIC COMMENTARY BY TRIAL PARTICIPANTS

         COMES NOW Plaintiff, JANE DOE, by and through undersigned counsel, and

 respectfully moves the Court pursuant to Federal Rule of Civil Procedure 26(c), Local Rule 77.2

 and the Court's inherent authority, for entry of a protective order restricting all trial participants,

 including the Defendant, from making harassing, intimidating and derogatory public extrajudicial

 statements about the parties, the witnesses, and counsel, and from publicizing confidential attorney

 communications. In support, Plaintiff states as follows:

 I. INTRODUCTION

         This action involves the non-consensual disclosure of intimate images under the federal

 statute commonly known as the "CARDII" law, 15 U.S.C. § 6851. Defendant Steven Bonnell II

 (“Defendant” or “Bonnell”) is a prominent online content creator and live-streamer with over

 840,000 followers. Since the initiation of this lawsuit, Defendant has repeatedly discussed and

 published the details of the litigation on his public platforms, including the pleadings, counsel

 communications in meet and confers, the names and home addresses of counsel, and even

 settlement discussions. He has also made derogatory and intimidating statements about the
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 Plaintiff, her counsel, Plaintiff’s witnesses and her prospective witnesses. See Dkt. 73, pp. 4-6.

 Indeed, several witnesses, including those that provided declarations in support of Plaintiff’s

 Motion for Preliminary Injunction, have expressed fear of being publicly targeted or doxxed 1 by

 Defendant and/or his followers and have indicated they are unwilling to participate in discovery

 or testify unless their identities remain confidential. See Plaintiff’s Declaration, attached hereto as

 Exhibit A. For this reason, the witness declarations were filed under seal. (See Dkts. 49-2, 49-4,

 49-5).

          Plaintiff is requesting that the Court enter the narrowly tailored proposed protective order,

 attached hereto as Exhibit B, to protect the integrity of these proceedings and prevent a chilling

 effect on evidence gathering and testimony. This order would apply equally to all trial participants,

 and serve to prevent further public doxxing, harassment, intimidation and misinformation. Without

 a protective order, Defendant’s continuous extrajudicial comments on his streaming platforms to

 over 840,000 followers has a substantial likelihood of materially prejudicing this proceeding. See

 Exhibit A

 II. RELEVANT FACTS

          Defendant has publicly threatened physical harm to individuals that have spoken out

 against him and in support of Plaintiff: “For Jstlk and Kuihman I’d kill them if I could. I’d show

 up to their fucking house and do it…. I do want someone to kill Jstlk though, or Lav, or Mr.

 Girl or Kuihman. All those people can go die.” Dkt. 72-3 (emphasis added). Each of these

 individuals are potential witnesses in this action due to their knowledge of the facts and related

 interactions with the Defendant. Indeed, Lav is included in the Defendant’s Initial Disclosures as

 an individual likely to have discoverable information. The Defendant has tried to doxx both


 1
  The term “doxx” or “doxxing” means to publicly identify or publish private information about someone as a form
 of harassment or revenge.
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 Kuihman             and         JSTLK             on          his          platforms.          See

 https://drive.google.com/file/d/1a0MyKmioK49vyb0gXO dUthL5O2wPPR9y/view. See also,

 https://x.com/ShamooYT/status/1893470989565952455 .

        Defendant regularly streams on his YouTube channel the details of this case (including

 confidential details from meet and confers held between counsel). After Plaintiff’s Reply to the

 Opposition to Motion for Preliminary Injunction (Dkt. 45) was filed, he streamed about the filings,

 showing them on his screen, reading excerpts aloud, and providing vitriolic and defamatory

 commentary for over an hour. https://www.youtube.com/watch?v=baWIPMMooWs. This video

 has been viewed 120,000 times to date. In it, Defendant accuses Plaintiff of “extorting” and

 “blackmailing” him (minutes 56:12, 1:00:49), of “insane lies” (minute 58:49); of a “total lie.”

 (minute 1:02:53).

        In this same video, Defendant accuses Plaintiff’s witness Abbymc (see Declaration, dkt.

 49-2) of lying and “perjury” (minute 28:17- 28:31). He refers to the undersigned counsel as

 “disgusting fucks” (minute 30:51); and repeatedly accuses the undersigned counsel of “grabbing

 random people to perjure themselves (minute 35:56 – 36:09). Defendant accuses Plaintiff’s

 counsel of “bad faith arguments,” “explicit lying,” and “abuse of the court system” (minute 3:28).

 He spends a full thirty minutes telling his followers that Plaintiff’s counsel has no understanding

 of the Federal Rules of Civil Procedure because they allegedly did not adhere to proper procedures

 by filing redacted declarations of the witnesses (Dkts. 49-2, 49-4, 49-5) along with the Motion to

 File Under Seal (dkt. 48) the unredacted versions. Defendant of course is wrong since the Court

 granted Plaintiff’s Motion to File under Seal (See Order, Dkt. 75). This type of misinformation

 about the litigation on his platform is rampant, and based on the thousands of comments on the

 YouTube video, is accepted as gospel by his followers. Disturbingly, all of this extrajudicial
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 commentary is approved by Defendant’s counsel: “I pass everything that I publish by my lawyers

 first.” (minute 59:55).

        The Defendant has told his followers on Kiwi Farms that witness Abbymc is “crazy” and

 “insane/unhinged.” Steven Bonnell II / Destiny / Destiny.gg | Page 1558 | Kiwi Farms. He also

 informed his community of the name of Abbymc’s prior boyfriend. Id.

        The Defendant has also publicly doxed and attacked Lauren Hayden (“laurendelaguna”), a

 friend and potential witness of Plaintiff’s. Lauren is listed as an individual likely to have

 discoverable information on Defendant’s Initial Disclosures. The Defendant has spread lies about

 Lauren and talked about how he would like to get her disbarred because she has been supportive

 of Plaintiff. See https://drive.google.com/file/d/1emc7Wm4D6wXgHa9XzeCkAtzrsp8a_krC/.

        Furthermore, despite the protective order entered by this Court (dkt. 7) to protect Plaintiff

 Jane Doe’s identity, Defendant publicly disclosed Plaintiff Jane Doe’s legal name on his

 YouTube platform. See https://www.youtube.com/watch?v=XbP83RJMZ94&t=479s (minute

 7:58). After Plaintiff brought this to the attention of the Court in her Reply to the Opposition to

 Motion for Preliminary Injunction, Docket 73, p. 5, the Defendant removed the reference to

 Plaintiff’s legal name. However, Defendant did not delete another reference he made to her name

 at minute 11:34. Moreover, in the chat thread that accompanies this video, after minute 7:58 his

 followers then repeatedly referred to Plaintiff’s name. Defendant did not remove those

 comments containing Plaintiff’s name and so they are still public. These actions are meant to defeat

 the protections afforded to Plaintiff of filing as Jane Doe. This video has been viewed over 130,000

 times. In this same video Defendant posts Plaintiff’s private messages to him about her emotional

 distress and suicidal thoughts due to his non-consensual sharing of the Video and then mocks and

 ridicules her. He then tells his followers that Plaintiff’s emotional distress was contrived solely for

 the purpose of extorting him (minutes 7:43- 8:28).
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        Numerous individuals initially contacted Plaintiff with information pertinent to this action

 but have refused to provide testimony due to fear of retaliation and/or doxing by Defendant. See

 Exhibit A. Besides the three witnesses who have provided declarations under seal, out of the

 original multitude of individuals who initially contacted Plaintiff, there are now only three with

 whom Plaintiff still has contact because the majority deleted their accounts after Destiny posted

 his video on YouTube entitled “Destiny Addresses His Lawsuit” on February 20th, 2025. Id. The

 three individuals with whom Plaintiff still has contact have told her they are afraid of speaking out

 or testifying against the Defendant because of his likely retaliation and harassment. Id.

 III. LEGAL STANDARD

        Federal Rule of Civil Procedure 26(c) specifically authorizes the Court "for good cause" to

 "issue an order to protect a party or person from annoyance, embarrassment, oppression, or undue

 burden or expense" upon motion. The Court has "broad discretion ...to decide when a protective

 order is appropriate and what degree of protection is required." Seattle Times Co. v. Rhinehart, 467

 U.S. 20, 36 (1984).

        The Supreme Court has “expressly contemplated that the speech of those participating

 before the courts could be limited.” Gentile v. State Bar of Nevada, 501 U.S. 1030, 1075

 (1991)(emphasis in original)(upholding restrictions on attorney’s speech having a likelihood of

 materially prejudicing that proceeding). See also Sheppard v. Maxwell, 384 U.S. 333, 363, 86 S.

 Ct. 1507, 16 L. Ed. 2d 600 (1966) (“The courts must take such steps by rule and regulation that

 will protect their processes from prejudicial outside interferences. Neither prosecutors, counsel for

 defense, the accused, witnesses, court staff nor enforcement officers coming under the jurisdiction

 of the court should be permitted to frustrate its function.”). The Sheppard Court urged lower courts

 handling publicized cases to "censure" trial participants. Id. at 363. By proscribing "extrajudicial

 statements by any lawyer, party, witness, or court official which divulged prejudicial matters,"
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 the Sheppard Court remarked that a gag order on trial participants "might well have prevented the

 divulgence of inaccurate information, rumors, and accusations ...." Id. at 361-62.

         Relying on Gentile and Sheppard, the 11th Circuit has upheld court orders that prohibit

 extrajudicial statements by trial participants. See, e.g., News-Journal Corp. v. Foxman, 939 F.2d

 1499, 1500 (11th Cir. 1991)(upholding lower court’s order that prohibited extrajudicial statements

 by trial participants prior to the commencement of trial); In re Subpoena to Testify Before Grand

 Jury, 864 F.2d 1559, 1564 (11th Cir. 1989) (upholding a district court's order restraining counsel,

 parties, witnesses, and the clerk of court from disclosing information and testimony from an

 ongoing grand jury investigation, when the court had determined that there was a "compelling

 necessity" for the order.).

         This District Court has also upheld orders restricting trial participants’ communications.

 See United States v. Hernandez, No. 98-0721-CR-LENARD/DUBÉ, 2001 U.S. Dist. LEXIS

 27679, at *11 (S.D. Fla. Feb. 16, 2001). “’The Supreme Court and other Courts of Appeals have

 recognized a 'distinction between participants in the litigation and strangers to it,' pursuant to which

 gag orders on trial participants are evaluated under a less stringent standard than gag orders on the

 press.’"        Id. (citations omitted). The Hernandez Court set forth the criteria for restricting the

 speech of trial participants:

            i)        finding a “substantial likelihood” of prejudice to the proceedings, Gentile, 501 U.S.

                      at 1072;

            ii)       the order must be sufficiently narrow in scope “to eliminate substantially only that

                      speech having a meaningful likelihood of materially impairing the court’s ability

                      to conduct a fair trial,” United States v. Brown, 218 F.3d 415, 429 (5th Cir.

                      2000); and
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         iii)    the order must be “the least restrictive means” of eliminating potential prejudice,

                 In re Subpoena to Testify before Grand Jury, 864 F.2d 1559, 1564 (11th Cir. 1989).

 Hernandez, 2001 U.S. Dist. LEXIS 27679, at *13-18.

        The Court also has inherent power to control the conduct of litigation and protect the

 integrity of judicial proceedings. See Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991). "’Courts

 of justice are universally acknowledged to be vested, by their very creation, with power to impose

 silence, respect, and decorum, in their presence, and submission to their lawful mandates.’" Id.

 (citations omitted).

 IV. ARGUMENT

                A. Defendant's Public Statements Regarding the Case Pose a Substantial
                                 Likelihood of Prejudice to a Fair Trial

    The First Amendment does not protect speech that interferes with the fair administration of

 justice. See Gentile, 501 U.S. 1030 at 1075. Here, Defendant has used his public platform to make

 continuous extrajudicial statements that:

    •   Disparage, harass and intimidate the Plaintiff, the witnesses, potential witnesses and

        Plaintiff’s counsel;

    •   Publicize sensitive allegations and private details;

    •   Disclose confidential settlement discussions which are protected under Fed. R. Civ. P. 408,

        or any meet and confer communications between counsel;

    •   Identify the Plaintiff or speculate about witnesses, often in derogatory terms;

    •   Mischaracterize legal filings and court orders.

 See ante, Relevant Facts.

 This conduct presents a substantial likelihood of material prejudice to the proceedings and deters

 witnesses from cooperating. A narrowly tailored restriction on extrajudicial statements relating to
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 the litigation is warranted. See Brown, 218 F.3d 415 at 427 (upholding gag order). The proposed

 order, attached hereto as Exhibit B, is narrowly tailored to achieve the ends of justice.

        B. The Proposed Order Is Sufficiently Narrow in Scope

        The proposed order is sufficiently narrow in scope “to eliminate substantially only that

 speech having a meaningful likelihood of materially impairing the court’s ability to conduct a fair

 trial.” Id. at 429. Here, the proposed order specifies the prohibited statements as those that: i)

 disparage, harass, threaten, or intimidate the parties, witnesses, potential witnesses, or either

 party’s counsel; ii) publicize or repeat any sensitive personal allegations or private details

 underlying the claims in this action; iii) publicly identify the Plaintiff or witnesses whose

 declarations have been filed under seal, or speculate about the identity of witnesses or potential

 witnesses, particularly in derogatory, demeaning, or inflammatory terms; iv) protect settlement

 discussions; and v) misrepresent or mischaracterize the content of legal filings, discovery, court

 orders, or the positions of any party or attorney in this litigation. Thus the proposed order provides

 "sufficient guidance regarding the nature of the prohibited comments," and is sufficiently narrow

 in scope. Id.

        C. The Proposed Order is the Least Restrictive Means of Eliminating Potential
           Prejudice
        In order to prevent potential prejudice, Courts have considered various options besides a

 restrictive order on public commentary, including “’change of venue, jury sequestration,

 ‘searching’ voir dire, and ‘emphatic’ jury instructions.’” Hernandez, 2001 U.S. Dist. LEXIS

 27679, at *18 (citations omitted). Here, restricting trial participants’ public commentary with a

 narrowly tailored scope is the least restrictive means of eliminating potential prejudice to the

 fairness of these proceedings. See id.
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        WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Court

 grant this Motion and enter the proposed protective order attached as Exhibit B, and award any

 other relief the Court deems just and proper.

                        LOCAL RULE 7.1 CERTIFICATE OF CONFERRAL

        WE HEREBY CERTIFY that, pursuant to Local Rule 7.1(a)(2), the undersigned counsel

 conferred via email between April 14 – 17, 2025 with counsel for Defendant in a good-faith effort

 to resolve the issues raised in this motion and were unable to reach an agreement on resolving or

 further narrowing the issues.

        Dated: June 2, 2025.

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                                                       /s/ Carlos A. Garcia Perez
                                                 By:_________________________________
                                                       CARLOS A. GARCIA PEREZ
                                                       Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 2, 2025 a true and correct copy of the foregoing was

  served on all parties via the CM/ECF filing portal to all counsel of record.


                                                       By: /s/ Carlos A. Garcia Perez

                                                       CARLOS A. GARCIA PEREZ
                                                       Attorney for Plaintiff
